        Case 1:25-cv-01844-LAK          Document 2       Filed 03/05/25     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 MILTON CACERES MOLINA,
                                                     Case No. 25-cv-1844
    Plaintiff,

                   v.

 WILLIAM JOYCE, in his official capacity             NOTICE OF MOTION
 as the Acting Field Office Director for the         FOR LEAVE TO FILE IN
 New York Field Office, U.S. Immigration &           FORMA PAUPERIS
 Customs Enforcement; TODD LYONS, in
 his official capacity as Acting Executive
 Associate Director, Enforcement and
 Removal Operations, ICE; KRISTI NOEM,
 in her official capacity as Secretary, U.S.
 Department of Homeland Security;
 PAMELA BONDI, in her official capacity
 as Attorney General of the United States,

     Defendants.



       PLEASE TAKE NOTICE that upon the attached declaration of Plaintiff Milton Caceres

Molina (“Plaintiff” or “Mr. Caceres Moline”) (ECF No. 2-1), sworn to on February 27, 2025, Mr.

Caceres Molina will move this Court in the courthouse for the U.S. District Court for the Southern

District of New York 500 Pearl St, New York, NY 10007, as soon as counsel can be heard, for an

order pursuant to 28 U.S.C. § 1915(a) granting Mr. Caceres Molina’s application to proceed in the

above captioned action in forma pauperis.
       Case 1:25-cv-01844-LAK   Document 2    Filed 03/05/25       Page 2 of 2




March 5, 2025                      Respectfully Submitted,
Brooklyn, NY
                                          /s/ Kevin Siegel
                                          Kevin Siegel, Esq.
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